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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 FAIR FIGHT ACTION, et al.,                )
                                           )
        Plaintiffs,                        )
                                           )
 v.                                        )      Civil Action File
                                           )
 BRAD RAFFENSPERGER, in his                       No. 1:18-cv-05391-SCJ
                                           )
 official Capacity as Secretary of State   )
 of Georgia, et al.,                       )
        Defendants.                        )
                                           )

               Defendants’ Amended Attachment F-2 (Witness List)

      Defendants identify herein the individual witnesses they will and/or may call

for this lawsuit. Defendants reserve the right to supplement this list with

reasonable notice to counsel. Defendants further reserve the right to call or recall

witnesses appearing on Plaintiffs’ witness list to the extent necessary depending on

the evidence presented at trial.

Defendants will call:

 Name                              Address
 Chris Harvey                      Please contact through counsel

Defendants may call:

 Name                              Address
 Kevin Rayburn                     Please contact through counsel
 Ryan Germany                      Please contact through counsel
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    John Hallman                  Please contact through counsel
    Merrit Beaver                 Please contact through counsel
    Anh Le                        Please contact through counsel
    Rebecca Sullivan              Please contact through counsel
    Matt Mashburn                 Please contact through counsel
    Angelique McClendon           Please contact through counsel
    Gabriel Sterling              Please contact through counsel
    Dr. Thomas L. Brunell, Ph.D.1 Please contact through counsel
    Lauren Groh-Wargo             Witness may be reached through Plaintiffs’
                                  counsel:

                                  In care of Lawrence & Bundy LLC
                                  Attn: Leslie J. Bryan
                                  1180 West Peachtree Street
                                  Suite 1650
                                  Atlanta, GA 30309
    Bishop Reginald Jackson       Witness may be reached through Plaintiffs’
                                  counsel:

                                  In care of Lawrence & Bundy LLC
                                  Attn: Leslie J. Bryan
                                  1180 West Peachtree Street
                                  Suite 1650
                                  Atlanta, GA 30309
    Bronson Woods                 Witness may be reached through Plaintiffs’
                                  counsel:

                                  In care of Lawrence & Bundy LLC
                                  Attn: Leslie J. Bryan
                                  1180 West Peachtree Street
                                  Suite 1650
                                  Atlanta, GA 30309


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 A summary of Dr. Brunell’s testimony can be found in his expert report
submitted in this case. Doc. No. [211].
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Cianti Stewart-Reid           Witness may be reached through Plaintiffs’
                              counsel:

                              In care of Lawrence & Bundy LLC
                              Attn: Leslie J. Bryan
                              1180 West Peachtree Street
                              Suite 1650
                              Atlanta, GA 30309
Jess Livoti                   Witness may be reached through Plaintiffs’
                              counsel:

                              In care of Lawrence & Bundy LLC
                              Attn: Leslie J. Bryan
                              1180 West Peachtree Street
                              Suite 1650
                              Atlanta, GA 30309
Rev. Herman Scott             Witness may be reached through Plaintiffs’
                              counsel:

                              In care of Lawrence & Bundy LLC
                              Attn: Leslie J. Bryan
                              1180 West Peachtree Street
                              Suite 1650
                              Atlanta, GA 30309
Rev. Matt Laney               Witness may be reached through Plaintiffs’
                              counsel:

                              In care of Lawrence & Bundy LLC
                              Attn: Leslie J. Bryan
                              1180 West Peachtree Street
                              Suite 1650
                              Atlanta, GA 30309
Senator David Perdue          Witness may be reached through his counsel:

                              Stephen J. Obermeier
                              Wiley Rein LLP
                              2050 M St NW
                              Washington, DC 20036 Tel: 202.719.7000
                              sobermeier@wiley.law

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